                                                                                            Page 1 of 1
          Case 1:14-cr-00068-LGS        Document 256-7        Filed 05/26/15      Page 1 of 1


From: Ross Ulbricht
To: Kim
Subject: Re: just heard about this
Date: Date
2/10/2013 11:30:58 PM UTC



thanks kim. I heard about spice about a year ago. if they didn't outlaw pot, they wouldn't need to come
up with experimental synthetic and dangerous cannabanoids to get around the laws. But yea, I don't go
near that stuff.


On Sun, Feb 10, 2013 at 2:54 PM, Kim             <kim                      > wrote:
 You may already know this...and I am not assuming that any of you use, but I just heard some stories
 about how much worse -- how dangerous and damaging -- synthetic pot ("spice") is. This, and of
 course "bath salts" are to be totally avoided. Well, I would say all drugs. These are legal, but you
 never know what is added to any of it. A girl is now blind and paralyzed and the stories go on.

  Fore-warned is fore-armed.




about:blank                                                                                   5/20/2015
